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                                                                                               EXHIBIT 55




@ 1'. nc Richo

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@   Terence Richoux


                                                                                 15/01/2024



                                                                                                    bonjour maitre vous parlez avec Farrugia   a quelle heure? 09 :27 .//
                                                                 je vous ai renvoye un petit recap par email des points importants, mais ce que vous aviez d1
                                                                 dans notre derniere conversation etait tres bien, vous devriez vous les noter pour ne rien oublier
                                                                 et avoir un deroule logique quand vous discuterez avec Farrugia                           09:47 w




    I
    Vous
    boniour maitre vous parlez avec Farrugia

    Je lui ai propose 14h.
                                               a quelle heure?

    J'attends sa reponse                                             09:59

    Vous
    Je vous aI renvoye un petIt recap par email des points importants, mais ce que vous aviez dit
    dans notre dern1ere conversation eta1t tres bien, vous devriez vous les noter pour ne rien
     oublier et avoir un deroule logique quand vous discuterez avec Farrugia

    Ok bien re~u                                                                                           09 :59

    Suis au tel avec Farrug ia 14:33




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